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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

  BAYER HEALTHCARE LLC, a Delaware                  Case No.
  limited liability company,
                                                    COMPLAINT FOR DAMAGES,
                 Plaintiff,
                                                    INJUNCTIVE, AND OTHER RELIEF
                                                    FOR VIOLATION OF 15 U.S.C. §§ 1114,
         v.
                                                    1125(A), AND RELATED STATE
  AF BEAUTY LLC, AHUVA FISHMAN,                     CLAIMS
  YITZY HALON, and JOHN DOES 1-10,
  individually or as corporate/business entities,   JURY TRIAL DEMANDED

                 Defendants.
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        Plaintiff Bayer Healthcare LLC (“Bayer” or “Plaintiff”), brings this action against

 Defendants AF Beauty LLC, Ahuva Fishman, Yitzy Halon, and John Does 1-10 (collectively,

 “Defendants”) for: (1) trademark infringement in violation of the Lanham Act, 15 U.S.C. § 1114

 and 15 U.S.C. § 1125(a); (2) unfair competition in violation of the Lanham Act, 15 U.S.C.

 § 1125(a)(1)(A); (3) false advertising in violation of the Lanham Act, 15 U.S.C. § 1125(a)(1)(B);

 (4) common law trademark infringement and unfair competition; and (5) tortious interference with

 contracts. These claims arise from Defendants’ misappropriation of Bayer’s trademarks in

 connection with Defendants’ unlawful advertisement and sale on the Internet of materially

 different and non-genuine products bearing Bayer’s trademarks. In support of its complaint, Bayer

 alleges as follows:

                                            PARTIES

        1.      Bayer is a limited liability company, organized under the laws of Delaware, with

 its principal place of business located in Whippany, New Jersey.

        2.      AF Beauty LLC (“AF Beauty”) is a limited liability company organized under the

 laws of Ohio that is also registered as a foreign limited liability company in New Jersey. AF

 Beauty operates or assists in the operation of two online storefronts on www.amazon.com

 (“Amazon”) called “af beauty” and “BeautyByAF” (collectively, the “Amazon Storefronts”). “af

 beauty” has a Merchant ID number1 of A22DVK2DGOFSJ9 and can be accessed at

 https://www.amazon.com/sp?ie=UTF8&seller=A22DVK2DGOFSJ9.                 “BeautyByAF” has a




 1
  Every storefront on Amazon is assigned a “Merchant ID number” that does not change over time
 even if the formal “name” of a storefront is changed. Even if Defendants change the name of their
 Amazon storefront at some time in the future, their storefront can always be accessed at the link
 provided which includes the Merchant ID number for the storefront.


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 Merchant     ID       number      of   A14QVD8OXY1AVB             and     can    be    accessed     at

 https://www.amazon.com/sp?ie=UTF8&seller=A14QVD8OXY1AVB.

        3.         Ahuva Fishman (“Fishman”) is a natural person who, upon information and belief,

 resides at 3394 Blanche Ave, Cleveland, OH 44118. Filings with the Ohio Secretary of State

 identify Fishman as the registered agent and sole member of AF Beauty.

        4.         Bayer asserts claims against Fishman in her individual capacity and also in her

 capacity as the sole member of AF Beauty. Upon information and belief, Fishman, in her

 individual capacity, and AF Beauty assist in and are responsible for the operation of and sales of

 products through the Amazon Storefronts.

        5.         Alternatively, as the sole member of AF Beauty, Fishman directs, controls, ratifies,

 participates in, or is the moving force behind the acquisition and sale of infringing products bearing

 Bayer’s trademarks by AF Beauty. Upon information and belief, Fishman personally participates

 in the acquisition and sale of infringing products by AF Beauty. Accordingly, Fishman is

 personally liable for infringing activities carried out by AF Beauty without regard to piercing the

 corporate veil.

        6.         Alternatively, upon information and belief, AF Beauty follows so few corporate

 formalities and is so dominated by Fishman that it is merely an alter ego of Fishman. Accordingly,

 Bayer is entitled to pierce the corporate veil of AF Beauty and hold Fishman personally liable for

 the infringing activities of AF Beauty.

        7.         Yitzy Halon (“Halon”) is a natural person who, upon information and beliefs, also

 resides at 2294 Blanche Ave., Cleveland, OH 44118. Filings with the New Jersey Secretary of

 State identify Halon as the registered agent for AF Beauty. Upon information and belief, Halon

 and Fishman are married.




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         8.     Bayer asserts claims against Halon in his individual capacity. Upon information

 and belief, Halon, in his individual capacity, and AF Beauty assist in and are responsible for the

 operation of and sales of products through the Amazon Storefronts.

         9.     Alternatively, upon information and belief, Halon directs, controls, ratifies,

 participates in, or is the moving force behind the acquisition and sale of infringing products bearing

 Bayer’s trademarks by AF Beauty. Upon information and belief, Halon personally participates in

 the acquisition and sale of infringing products by AF Beauty. Accordingly, Halon is personally

 liable for infringing activities carried out by AF Beauty without regard to piercing the corporate

 veil.

         10.    Alternatively, upon information and belief, AF Beauty follows so few corporate

 formalities and is dominated by Halon that it is merely an alter ego of Halon. Accordingly, Bayer

 is entitled to pierce the corporate veil of AF Beauty and hold Halon personally liable for the

 infringing activities of AF Beauty.

         11.    Upon information and belief, Defendants are all acting in concert as part of a

 coordinated scheme to sell Bayer products.

         12.    The coordination between Fishman and Halon is apparent. They are married, reside

 at the same address, and appear on separate corporate filings for AF Beauty.

         13.    Bayer believes that other individuals or entities may be responsible for the events

 and occurrences referred to herein or be otherwise interested in the outcome of the dispute. The

 true names, involvement, and capacities, whether individual, corporate, associated, or otherwise

 of these individuals or entities are unknown to Bayer. Therefore, Bayer sues these defendants by

 the fictitious names John Does 1 through 10. When the true names, involvement, and capacities




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 of these parties are ascertained, Bayer will seek leave to amend this Complaint accordingly. If

 Bayer does not identify any such parties, it will dismiss these defendants from this action.

                                   JURISDICTION AND VENUE

         14.     This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C.

 §§ 1331, 1338, and 1367. Bayer’s federal claims are predicated on 15 U.S.C. §§ 1114 and 1125(a),

 and its claims arising under the laws of the State of New Jersey are substantially related to its federal

 claims such that they form part of the same case or controversy under Article III of the United States

 Constitution.

         15.     This Court has personal jurisdiction over Defendants because they have expressly

 aimed tortious activities toward the State of New Jersey and established sufficient minimum

 contacts with New Jersey by, among other things, advertising and selling substantial quantities of

 infringing products bearing Bayer’s trademarks to consumers within New Jersey through a highly

 interactive commercial website, with knowledge that Bayer is located in New Jersey and is harmed

 in New Jersey as a result of Defendants’ sales of infringing products to New Jersey residents.

 Defendants know that Bayer is located in New Jersey, among other reasons, because they received

 cease-and-desist letters informing them that Bayer is located in New Jersey and is harmed in New

 Jersey by their unlawful actions. Bayer’s claims arise out of Defendants’ substantial and regular

 sales of infringing products bearing Bayer’s trademarks to New Jersey residents.

         16.     Venue is properly found in this judicial district under 28 U.S.C. § 1391(b) because a

 substantial part of the events giving rise to the claims herein occurred within this judicial district, or

 in the alternative because a Defendant is subject to personal jurisdiction in this district.




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                                   FACTUAL ALLEGATIONS
                                    Bayer and Its Trademarks

        17.      Bayer develops, designs, manufactures, markets, distributes, and sells mainly

 nonprescription over-the-counter healthcare and medicinal products under numerous marks owned

 or licensed by Bayer. These products include many products that consumers ingest or apply to

 their bodies.

        18.      Bayer allows its products to be sold to end-user consumers in the United States only

 by sellers who Bayer has expressly authorized to sell Bayer products (“Authorized Sellers”).

 These sellers include authorized distributors and retailers.

        19.      Bayer allows Authorized Sellers to sell Bayer products only in approved channels

 and requires Authorized Sellers to abide by agreements, policies, and other rules that impose

 requirements relating to quality controls, customer service, and other sales practices (collectively,

 the “Bayer Rules”).

        20.      Bayer devotes a significant amount of time, energy, and resources toward

 protecting the value of its brands, products, name, and reputation. By distributing Bayer products

 to end-user consumers exclusively through Authorized Sellers that are required to follow the quality

 controls and other requirements in the Bayer Rules, Bayer ensures that consumers receive products

 that are subject to its quality controls and maintains the integrity and reputation of its brands. In

 the highly competitive market for healthcare and medicinal products, quality and customer service

 are a fundamental part of a consumer’s decision to purchase a product.

        21.      To promote and protect its brands and reputation, Bayer owns numerous trademarks

 that have been registered with the United States Patent and Trademark Office. These trademarks

 include, but not are not limited to: AFRIN® (U.S. Trademark Reg. Nos. 2,547,372, 1,709,138, and

 1,052,754), ALEVE® (U.S. Trademark Reg. Nos. 3,287,780 and 1,536,042), ALKA-SELTZER®



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 (U.S. Trademark Reg. Nos. 5,627,883, 1,914,472, 0,667,053, and 0,510,330), ALKA-SELTZER

 PLUS® (U.S. Trademark Reg. No. 0,864,883), A+D® (U.S. Trademark Reg. No. 2,547,314),

 CLARITIN® (U.S. Trademark Reg. Nos. 3,621,772, 3,140,850, 2,816,780, 2,824,753, and

 1,498,292), CLARITIN-D® (U.S. Trademark Reg. Nos. 2,819,388 and 1,912,214), CHILDREN’S

 CLARITIN® (U.S. Trademark Reg. No. 3,332,199), CORICIDIN® (U.S. Trademark Reg. Nos.

 1,002,530 and 0,533,777), LOTRIMIN® (U.S. Trademark Reg. No. 1,001,433), MIRALAX®

 (U.S. Trademark Reg. Nos. 4,426,594 and 3,120,379), MIDOL® (U.S. Trademark Reg. Nos.

 3,444,486, 2,278,871 and 0,080,651), ONE A DAY® (U.S. Trademark Reg. No. 5,198,339),

 PHILLIPS’® (U.S. Trademark Reg. No. 3,811,454), SOLARCAINE® (U.S. Trademark Reg. No.

 1,413,916), and TINACTIN® (U.S. Trademark Reg. Nos. 2,060,013 and 0,780,553) (collectively,

 the “Bayer-owned Trademarks”). The registration for each of the Bayer-owned Trademarks is

 valid, subsisting, and in full force and effect.

         22.     Further, Bayer’s right to use many of the Bayer-owned Trademarks has become

 incontestable under 15 U.S.C. § 1065 because the trademarks have been in continuous use, Bayer

 received no final legal decision issued against the trademarks, and Bayer timely filed a Section 15

 Declaration describing the trademarks’ use. Accordingly, these trademarks serve as conclusive

 evidence of Bayer’s ownership of the marks and of its exclusive right to use and direct the use of the

 marks in commerce and in connection with the sale and distribution of products bearing the marks

 identified in the registrations, as provided by 15 U.S.C. § 1115(b).

         23.     Bayer actively uses, advertises, and markets products bearing all of the Bayer-owned

 Trademarks in commerce throughout the United States.

         24.     Bayer is also the exclusive U.S. licensee of numerous trademarks that have been

 registered with the United States Patent and Trademark Office. These trademarks include:




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 ASTEPRO® (U.S. Trademark Reg. No. 3,659,066) and CITRACAL® (U.S. Trademark Reg. No.

 1,360,063) (collectively, the “Bayer-licensed Trademarks”) (combined with the Bayer-owned

 Trademarks, the “Bayer Trademarks”).

          25.   Products bearing the Bayer Trademarks (“Bayer Products”) stand for trust,

 reliability, and quality throughout the world and consistently rank as leading products in the global

 pharmaceutical industry.

          26.   Bayer Products are highly recommended by pharmacists and professionals, and are

 recognized and known by consumers as being safe, effective, reliable, and of high quality.

          27.   Since its inception, Bayer has been committed to taking all possible measures to

 guarantee high quality, innovative, and effective products. Because of the quality, reliability, and

 safety of Bayer Products, consumers recognize and associate the Bayer Trademarks with high-

 quality and dependable medicinal products in the consumer-healthcare industry.

          28.   For all of these reasons, the Bayer Trademarks are widely recognized by the general

 consuming public of the United States and Bayer is recognized as the source of products bearing

 the Bayer Trademarks.

          29.   Due to the superior quality and exclusive distribution of Bayer Products, and because

 Bayer is recognized as the source of high-quality products, the Bayer Trademarks have enormous

 value.

                     Online Marketplaces and the Challenge They Present to
                             Bayer Product Quality and Goodwill

          30.   E-commerce retail sales have exploded over the past decade. From 2014 through

 the first half of 2024, the percentage of total retail sales in the United States that was completed

 through e-commerce channels rose from 6.2% to 16%. E-Commerce Retail Sales as a Percent of




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 Total   Sales,    FEDERAL        RESERVE        BANK     OF     ST.   LOUIS      (July   10,    2024),

 https://fred.stlouisfed.org/series/ECOMPCTSA.

         31.      In 2023, consumers spent approximately $1.12 trillion on e-commerce sales, a 7.6%

 increase from 2022. See Abbas Haleem, US ecommerce sales reached $1.119 trillion in 2023,

 DIGITAL COMMERCE 360 (February 26, 2024), https://www.digitalcommerce360.com/article/us-

 ecommerce-sales/.

         32.      While online marketplaces have created a great deal of opportunity, they also

 greatly challenge a brand owner’s ability to control the quality and safety of its products.

         33.      Unlike when purchasing products at a brick-and-mortar store, consumers who

 purchase products through online marketplaces cannot touch, inspect, or interact with products

 before purchasing them. Instead, consumers must trust that the product they select over the

 Internet will be authentic and of the quality they expect and typically receive from the

 manufacturer.

         34.      Online marketplaces have an exceedingly low barrier to entry, do not require sellers

 to be authorized sellers of the products they sell, and do not require sellers to disclose to consumers

 whether they are an authorized or unauthorized seller. As a result, any person who can obtain a

 brand owner’s products through unauthorized diversion can sell the products on online

 marketplaces while concealing that they are an unauthorized seller who is outside of, and does not

 abide by, the brand owner’s quality controls.

         35.      It is unfortunately common for unauthorized sellers to sell diverted products on

 online marketplaces that are of lesser quality than products sold through brand owners’ authorized

 channels. See Scott Cohn, Greed Report: Your quest for savings could land you in the “gray

 market,” CNBC, Sept. 8, 2016, https://www.cnbc.com/2016/09/08/greed-report-your-quest-for-




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  savings-could-land-you-in-the-gray-market.html; Alexandra Berzon et al., Amazon Has Ceded

  Control of Its Site. The Result: Thousands of Banned, Unsafe or Mislabeled Products, THE WALL

  STREET JOURNAL, Aug. 23, 2019, https://www.wsj.com/articles/amazon-has-ceded-control-of-its-

  site-the-result-thousands-of-banned-unsafe-or-mislabeled-products-11566564990.            It is also

  common for unauthorized sellers to sell products that are previously used—including products

  retrieved from dumpsters—as “new” on online marketplaces.             See Khadeeja Safdar et al., You

  Might Be Buying Trash on Amazon—Literally, THE WALL STREET JOURNAL, Dec. 18, 2019,

  https://www.wsj.com/articles/you-might-be-buying-trash-on-amazonliterally-11576599910.

         36.     Third-party sellers on Amazon may also sell counterfeit items or allow counterfeit

  items to enter the stream of commerce through poor controls, sourcing, and fulfillment practices.

         37.     For example, the Department of Homeland Security published a report noting that

  online marketplaces can facilitate the sale of counterfeit goods and that “American consumers

  shopping on e-commerce platforms and online third-party marketplaces now face a significant risk

  of purchasing counterfeit or pirated goods.” Department of Homeland Security, Combating

  Trafficking   in   Counterfeit    and    Pirated      Goods   (Jan.     24,    2020),   available   at

  https://www.dhs.gov/sites/default/files/publications/20_0124_plcy_counterfeit-pirated-goods-

  report_01.pdf, at 7. The report stated that consumers on online marketplaces cannot rely on

  traditional “red flag” indicators of counterfeits and “have been surprised to discover that upon

  completion of an online sales transaction, that the order will be fulfilled by an unknown third-party

  seller.” Id. at 14-15, 38. See also Senate Finance Committee, The Fight Against Fakes: How Statutory

  and Regulatory Barriers Prevent the Sharing of Information on Counterfeits, Nov. 7, 2019,

  https://www.finance.senate.gov/imo/media/doc/The%20Fight%20Against%20Fakes%20%20(2019-

  11-07).pdf.




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         38.       The business press has also reported extensively on how there is an “epidemic” of

  counterfeit products being sold on the online marketplaces that diverters are exploiting because they

  know consumers trust marketplaces and think the products they are buying through the marketplaces

  are genuine. See Spencer Soper, Amazon Gets Real About Fakes, Bloomberg, Nov. 28, 2016,

  https://www.bloomberg.com/news/articles/2016-11-28/amazon-gets-real-about-fakes; Jay Greene,

  How Amazon’s quest for more, cheaper products has resulted in a flea market of fakes, THE

  WASHINGTON POST, Nov. 14, 2019, https://www.washingtonpost.com/technology/2019/11/14/how-

  amazons-quest-more-cheaper-products-has-resulted-flea-market-fakes/.

         39.       In its annual reports to its shareholders beginning in 2018 and continuing each year

  to the present, Amazon has acknowledged that third party sellers on its marketplace are selling

  products that are “counterfeit,” “pirated,” “stolen,” or otherwise “materially different” from the

  product that was described to consumers. See, e.g., Amazon.com, Inc., Annual Report (Form 10-

  K),   at     8   (Feb.   2,   2024),   available    at    https://d18rn0p25nwr6d.cloudfront.net/CIK-

  0001018724/c7c14359-36fa-40c3-b3ca-5bf7f3fa0b96.pdf. Amazon conceded that these actions are

  “violating the proprietary rights of others” and warned its investors that it could be liable for

  “unlawful activities” of Amazon third-party sellers.

         40.       Because brand owners have no relationship with or control over unauthorized

  sellers, brand owners have no ability to exercise their quality controls over products sold by

  unauthorized sellers or to ensure the products are safe and authentic. A brand’s inability to exercise

  control over the quality of its products presents serious risks to the safety of consumers.

         41.       The structure, construction, and user interface of online marketplaces also pose

  threats to a brand owner’s ability to maintain its goodwill, reputation, and brand integrity.




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         42.     When purchasing products on an online marketplace, customers do not know if a

  seller of a product is authorized by the brand. Additionally, the interface design of many online

  marketplaces causes consumers to falsely believe that they are always purchasing from the brand

  or, at minimum, from an authorized seller that is selling under the brand’s oversight and with the

  brand’s approval.

         43.     For all these reasons, a vast number of consumers purchase products on online

  marketplaces without recognizing that they purchased from an unauthorized seller that does not

  (and cannot) follow the brand’s quality controls.

         44.     When a customer purchases a product on an online marketplace and receives a

  damaged, defective, or otherwise poor-quality product, the customer is much more likely to

  associate the problem with the brand/manufacturer rather than the product seller.

         45.     Online marketplaces also give disgruntled customers a powerful and convenient

  forum to air their grievances about problem products—online product reviews. Any consumer

  who is dissatisfied with the product received can post a review on the marketplace for all other

  consumers across the world to see. These reviews, which are often permanently fixed, will often

  criticize the brand rather than the marketplace seller that sold the product.

         46.     Online product reviews significantly impact a brand’s reputation. Survey results

  show that 99.75% of United States consumers read reviews “at least sometimes” when they

  consider buying a new product online, and 45% will not purchase a product if there are no reviews

  available for it. Survey: The Ever-Growing Power of Reviews (2023 Edition), Power Reviews,

  https://www.powerreviews.com/research/power-of-reviews-2023/ (last visited July 10, 2024).

         47.     Reviews are especially impactful on online consumers. In a brick-and-mortar store,

  a consumer can simply select another product from the shelf if the initial product selected appears




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  to be compromised. However, online consumers are left simply having to hope that the product

  that shows up on their doorstep is of appropriate quality. Therefore, online consumers rely more

  on brand reputation and reviews.

           48.     Because of the reliance consumers place on online reviews, negative online reviews

  can be the death knell for a manufacturer’s online product listings. Not only are consumers less

  likely to buy a product with negative reviews, websites like Amazon use algorithms to downgrade

  products they believe consumers are less likely to buy. Thus, poor reviews can create a downward

  spiral where downgraded search placement leads to reduced sales, which leads to further

  downgraded product placement.

                 Bayer’s Reputation and Goodwill Have Been Harmed By Numerous
                 Online Reviews Written by Consumers Who Purchased Poor-Quality
                    Products From Unauthorized Sellers on Online Marketplaces

           49.     Consumers who purchase from unauthorized sellers on online marketplaces

  frequently receive poor-quality products or customer service and leave negative reviews on

  product listings. These negative reviews injure consumer perceptions of a brand’s quality and

  reputation, ultimately causing the brand to suffer damage to its goodwill and lost sales.

           50.     Numerous consumers have written negative reviews of Bayer Products being

  offered for sale on online marketplaces. In these reviews, many of which appear on listings of

  products that have been offered for sale by Defendants, consumers have given misappropriated

  Bayer Products low “ratings” and complained of receiving products that were damaged, previously

  used, tampered with, expired, and different in appearance and quality from Bayer Products

  consumers had previously purchased.

           51.     For example, Defendants have sold on Amazon the product seen in the screenshot

  below:




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          52.     As seen in the following sample screenshots of customer reviews, consumers have

  left negative reviews of this product complaining of receiving products that were damaged or close

  to their expiration date:




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         53.    Below is a screenshot of another Bayer product that Defendants have sold on

  Amazon:




         54.    As seen in the following sample screenshots of customer reviews, consumers have

  left negative reviews of this product complaining of receiving the wrong items or products in

  damaged packaging:




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          55.     The foregoing reviews are only a sample of the negative reviews of the products

  depicted above that Defendants have sold through their Amazon Storefront. These reviews hurt

  Bayer’s sales and goodwill because consumers around the world view and rely on these reviews,

  even when purchasing Bayer Products offline. Even when the text of a review makes clear that

  the problem was seller-caused, it will lower the Bayer product’s average review score and search

  placement.

          56.     Amazon does not allow product reviews to identify the seller who sold the product

  that is the subject of the product review. Given that Defendants have sold a high volume of

  products bearing the Bayer Trademarks on Amazon and are not subject to Bayer’s quality controls,

  however, it is exceedingly likely that some of the foregoing negative reviews—and the other

  similar negative reviews of Bayer Products that Defendants have sold on Amazon—were written

  by customers who purchased products bearing the Bayer Trademarks from Defendants.

       Bayer Has Implemented Quality Controls Throughout Its Authorized Channels of
       Distribution to Combat the Problems Caused By Online Marketplaces and Ensure
       Customers Receive the Genuine, High-Quality Products They Expect From Bayer

          57.     The above reviews show how sales of poor-quality Bayer Products disappoint

  Bayer’s consumers and cause significant harm to the reputation and goodwill of Bayer and its

  brands. To protect itself and consumers from these harms, Bayer implemented a quality control

  program that applies to all of its Authorized Sellers, including sellers that sell in a brick-and-mortar

  retail setting and sellers that sell online.

          58.     The goals of Bayer’s quality control program are to minimize the likelihood that

  poor-quality products reach consumers and ensure that consumers who purchase Bayer Products,


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  including consumers who buy online, receive the high-quality products and services they expect

  from Bayer Products. By preventing consumers from receiving poor-quality products, the program

  both protects consumers from confusion and also protects the value and goodwill associated with

  the Bayer Trademarks.

          59.     Bayer’s ability to exercise quality controls is particularly important for the products

  it sells because many Bayer Products are ingested by consumers or applied to consumers’ bodies

  and there may be health and safety risks associated with products that are expired or have not been

  properly inspected, stored, or handled.

          60.     Bayer abides by its quality control requirements and requires its Authorized Sellers

  to abide by them as well.

          61.     Bayer’s ability to exercise its quality controls is essential to the integrity and quality

  of Bayer Products, as well as the value of the Bayer Trademarks and other intellectual property.

     Authorized Sellers May Sell Bayer Products Only Through Specific Channels and Must
            Adhere to Bayer’s Quality Control and Customer Service Requirements

          62.     Bayer maintains strict quality controls over Bayer Products by allowing them to be

  purchased by end-user consumers only from Authorized Sellers. Bayer’s Authorized Sellers include

  Authorized Distributors, Authorized Resellers, and Authorized Retailers.

          63.     All of Bayer’s Authorized Sellers are permitted to sell Bayer Products only in certain

  channels and are required to abide by the Bayer Rules. Thus, every Authorized Seller that sells

  Bayer Products is subject to Bayer’s quality control requirements.

          64.     The Bayer Rules require Authorized Sellers to purchase the Bayer Products they

  resell only from Bayer or other Authorized Sellers. This restriction ensures that Authorized Sellers

  exclusively sell products that are subject to Bayer’s quality controls and do not sell products that are

  diverted, unsafe, or potentially counterfeit.



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         65.     The Bayer Rules also limit to whom and where Authorized Sellers may sell Bayer

  Products. To prevent persons outside of Bayer’s quality controls from acquiring and reselling Bayer

  Products, the Bayer Rules prohibit Authorized Sellers from selling Bayer Products to any third party

  who is not an Authorized Seller and who intends to resell the products. Authorized Sellers are

  permitted to sell Bayer Products only to end-user consumers or, in certain circumstances, to other

  Authorized Sellers.

         66.     Given the many perils of unauthorized online sales as described above, Authorized

  Sellers are also prohibited from selling Bayer Products on any website they do not themselves own

  and operate unless they first apply for and receive written approval from Bayer.

         67.     These restrictions are essential to Bayer’s ability to exercise its quality controls over

  Bayer Products because they: (1) prevent unauthorized sellers from obtaining and reselling Bayer

  Products and (2) allow Bayer to know where all of its products are being sold online by Authorized

  Sellers. If a quality issue arises through an online sale, Bayer can identify the Authorized Seller

  that made the sale, contact the Authorized Seller, and address the issue immediately. Bayer is

  unable to take such actions with unauthorized sellers because it does not know who those sellers

  are and cannot obtain their cooperation in addressing any product quality or customer service

  issues that may arise.

         68.     In addition to restricting where and how Authorized Sellers can acquire and sell

  Bayer Products, the Bayer Rules also require Authorized Sellers to follow numerous quality

  control requirements related to the inspection, storage, handling, and sale of Bayer Products.

         69.     To ensure that customers receive the genuine and high-quality products they expect

  from Bayer, the Bayer Rules require Authorized Sellers to inspect all Bayer Products for any

  damage, defects, evidence of tampering or previous use, and other non-conformance and remove




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  all such products (“Non-Conforming Products”) from their inventory. Authorized Sellers are

  prohibited from selling Non-Conforming Products, must destroy or dispose of all Non-Conforming

  Products in accordance with instructions provided by Bayer, and are required to report their

  discovery of any Non-Conforming Products to Bayer to assist Bayer with identifying any product

  quality issues.

         70.        Authorized Sellers must also regularly inspect their inventory for any products that

  are expired or within 60 days of expiration (“Not-Current Products”), not sell any Not-Current

  Products to consumers, and destroy or dispose of all Non-Current Products in accordance with

  instructions provided by Bayer.

         71.        The Bayer Rules also require that Authorized Sellers store Bayer Products within a

  narrow temperature range, in a secure location with controlled access, and in accordance with other

  guidelines issued by Bayer. These requirements help ensure that Bayer Products are properly

  stored and are not damaged or otherwise compromised prior to being shipped to the consumer.

  Authorized Sellers must also alert Bayer in writing and follow further instructions if they:

  (i) believe any Bayer Products in their possession were subject to prolonged excessive heat or

  temperature or (ii) become aware of or suspect that any third party is in possession of counterfeit

  Bayer Products.

         72.        To further ensure that Bayer Products are properly stored and in pristine condition,

  Authorized Sellers must examine all delivery vehicles and their contents before accepting Bayer

  Products that arrive in delivery vehicles. In their examinations, Authorized Sellers must inspect

  for internal cleanliness and hatch seal integrity, measure the internal temperature for temperature-

  controlled materials, and inspect for evidence of potential quality and security concerns such as

  torn or punctured cases and exposure to moisture.




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         73.     To avoid consumer confusion and ensure that customers receive genuine Bayer

  Products, Authorized Sellers must sell Bayer Products in their original packaging and are

  prohibited from altering, modifying, relabeling, repackaging, unbundling, or bundling Bayer

  Products or any accompanying label, literature, or safety-related information without Bayer’s

  consent. Authorized Sellers are also prohibited from reselling any Bayer Product that has been

  returned, opened, or repackaged.

         74.     Authorized Sellers are also prohibited from tampering with, defacing, or otherwise

  altering any identifying information on Bayer Products, including any serial number, UPC code,

  or other identifying information.

         75.     The Bayer Rules give Bayer the right to monitor and audit Authorized Sellers by

  inspecting their facilities and records relating to Bayer Products, to ensure their compliance with

  Bayer’s quality control requirements. During any such investigation, Authorized Sellers must

  disclose information regarding their handling procedures and the identities of all their sources of

  Bayer Products.

         76.     Authorized Sellers also must cooperate with Bayer with respect to any product

  recall or other consumer safety information dissemination effort conducted by Bayer regarding

  Bayer Products.

         77.     The Bayer Rules also require Authorized Sellers to provide various customer

  services to their customers. For example, Authorized Sellers must familiarize themselves with the

  features of all Bayer Products kept in their inventory so they can advise customers on the selection

  and safe use of Bayer Products, offer ongoing support to consumers, and promptly respond to

  consumer inquiries before and after their sale of Bayer Products. Authorized Sellers must also




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  immediately report to Bayer any customer complaint they receive regarding a Bayer Product and

  assist Bayer in investigating any such complaint.

         78.     Bayer’s quality control and customer service requirements are legitimate and

  substantial and have been implemented so that Bayer can control the quality of goods

  manufactured and sold under the Bayer Trademarks, to protect consumers as well as the value and

  goodwill associated with the Bayer Trademarks.

         79.     Bayer’s quality control and customer service requirements are also material, as they

  are designed to protect consumers and prevent them from receiving poor-quality and unsafe

  products. Consumers would find it material and relevant to their purchasing decision to know

  whether a Bayer Product they were considering buying was being sold by an Authorized Seller

  who is subject to Bayer’s quality control and customer service requirements or whether the product

  is being sold by an unauthorized seller who does not abide by Bayer’s quality controls and over

  whom Bayer is unable to exercise its quality controls.

          Because of the Flood of Poor-Quality Products Sold Online and Consumers’
              Inability to Inspect Such Products Before Purchase, Bayer Imposes
             Additional Requirements on Its Authorized Sellers Who Sell Online

         80.     As shown in the consumer reviews cited above (see ¶¶ 51-54, supra), Bayer

  Products sold online are more susceptible to quality and authenticity problems because consumers

  cannot see products before buying them.        These problems are especially severe on online

  marketplaces, where sellers can conceal the fact that they are an unauthorized seller, and many

  sellers may share a single product listing page. Given the heightened risks to consumer satisfaction

  and the value of its trademarks that are posed by online sellers, Bayer imposes additional quality

  control requirements on all of its Authorized Sellers that sell Bayer Products online.




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          81.     The Bayer Rules allow Authorized Sellers to sell Bayer Products to end-user

  consumers only through “Permissible Public Websites” and “Approved Websites.” These rules

  allow Bayer to oversee all Authorized Sellers that sell Bayer Products online.

          82.     A “Permissible Public Website” is a website that: (1) is operated by an Authorized

  Seller in the Authorized Seller’s own legal name or registered fictitious name; (2) lists the

  Authorized Seller’s name, mailing address, telephone number, and email address; and (3) except

  for a small subset of websites operated by large retailers over which Bayer already has visibility,

  has been registered with Bayer. Permissible Public Websites do not include storefronts on any

  online marketplace.

          83.     Authorized Sellers must receive prior written approval from Bayer before they can

  sell Bayer Products on any website that does not meet the criteria of a Permissible Public Website.

  To obtain this approval, Authorized Sellers must submit applications in which they provide

  information about their business, identify all their sources of Bayer Products, and list the specific

  websites where they wish to sell products. Applicants then undergo vetting by Bayer that includes

  review of their business operating record and online review history. A website that Bayer permits

  an Authorized Seller to use through this process is called an “Approved Website.”

          84.     The Bayer Rules impose numerous additional requirements on Authorized Sellers

  who sell Bayer Products on Permissible Public Websites or Approved Websites (collectively,

  “Authorized Online Sellers”).

          85.     For example, Authorized Online Sellers must exclusively use images of Bayer

  Products that are provided or approved by Bayer and keep product descriptions up to date.

  Authorized Online Sellers are also prohibited from advertising any Bayer Product they do not carry

  in their inventory.




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         86.     The Bayer Rules prohibit Authorized Online Sellers from selling anonymously and

  instead require them to state their business name and current contact information on all websites

  where they sell, while not giving any appearance that the website is operated by Bayer or another

  third party. These requirements allow consumers of Bayer Products to understand the nature of the

  seller from whom they are purchasing and enable consumers to contact the seller if any quality issues

  arise. These requirements also allow Bayer to protect the public from the sale of poor-quality or

  counterfeit Bayer Products because it allows for easy detection of any Authorized Online Seller that

  sells poor-quality or counterfeit goods.

         87.     Authorized Online Sellers who sell Bayer Products on Approved Websites may sell

  products only on the website(s) and under the name(s) specifically approved by Bayer. At Bayer’s

  request, Authorized Online Sellers must provide access to and copies of all web pages that make up

  any Permissible Public Website or Approved Website where Authorized Online Sellers are selling

  Bayer Products.

         88.     Unless otherwise approved by Bayer, Authorized Online Sellers may not use any

  third-party fulfillment service to store inventory or fulfill orders for Bayer Products. Authorized

  Online Sellers are also prohibited from using any fulfillment service that could cause customers to

  receive Bayer Products from other sellers’ product stock when they purchase from Authorized

  Online Sellers. These requirements ensure that the specific products that the Authorized Online

  Seller has that meet Bayer’s quality standards will be those that are shipped to the customer in

  fulfillment of an order, rather than other products that are outside of Bayer’s quality controls.

         89.     All websites where Authorized Online Sellers sell Bayer Products must have a

  mechanism for receiving customer feedback, and Authorized Online Sellers must take appropriate

  steps to address any feedback received. Authorized Online Sellers must also: (i) keep copies of all




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  information related to customer feedback regarding Authorized Online Sellers’ products and their

  responses; (ii) provide this information to Bayer upon request; and (iii) cooperate with Bayer in

  investigating negative online reviews related to sales of Bayer Products.

           90.   The additional quality control requirements that Bayer imposes on its Authorized

  Online Sellers are legitimate and substantial and have been implemented to allow Bayer to carefully

  control the quality of Bayer Products that are sold online and quickly address any quality issues that

  arise.

           91.   Bayer’s additional quality controls are also material, as they have been implemented

  to ensure that consumers purchasing Bayer Products online receive genuine, high-quality Bayer

  Products that abide by Bayer’s quality controls. Consumers purchasing Bayer Products online would

  find it relevant to their purchasing decision to know whether a product they are buying is vended by

  an Authorized Online Seller who is subject to, and abides by, Bayer’s quality controls.

                     Bayer Audits and Monitors Its Authorized Online Sellers
                  to Ensure They Comply with Its Quality Control Requirements

           92.   Bayer regularly audits its Authorized Online Sellers to ensure they are adhering to its

  quality control requirements. Bayer conducts its auditing and monitoring actions pursuant to an

  internal program called the Bayer Online Quality Control Program (“Auditing Program”).

           93.   As part of its Auditing Program, Bayer examines every Approved Website and a

  rotating sample of Permissible Public Websites each month to ensure that the Authorized Online

  Sellers who sell through the websites are complying with the Bayer Rules.              During these

  examinations, Bayer checks to make sure that, among other requirements, the websites: (i) clearly

  state an Authorized Online Seller’s legal name or registered fictitious business name and provide

  contact information for the Authorized Online Seller; (ii) do not give the appearance that they are

  operated by Bayer or a third party; (iii) do not display any content that could be detrimental to



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  Bayer or its brands; (iv) do not make any representations regarding Bayer Products that are

  misleading; (v) exclusively contain images of Bayer Products and product descriptions that are

  supplied or authorized by Bayer and up-to-date; and (vi) have a mechanism through which

  customers can provide feedback.

         94.     Bayer also periodically inspects online reviews of Bayer Products and Authorized

  Online Sellers that appear on Approved Websites and Permissible Public Websites. If Bayer

  discovers reviews asserting that Authorized Online Sellers provided poor customer service, sold

  poor-quality Bayer Products, or otherwise did not adhere to the quality control and customer

  service requirements that all Authorized Sellers are required to follow, Bayer communicates with

  the responsible Authorized Online Sellers to determine the cause(s) of the negative reviews, take

  any necessary corrective action, and secure the removal of negative reviews if possible.

         95.     Each month, Bayer also purchases Bayer Products from a rotating sample of

  Approved Websites and Permissible Public Websites. If Bayer discovers any quality problems in

  purchased products or discovers that an Authorized Online Seller is otherwise not following the

  quality control requirements that Authorized Online Sellers must follow when selling online—for

  example, by altering product packaging or fulfilling product orders through an unapproved third-

  party fulfillment service—Bayer communicates with the responsible Authorized Online Seller and

  takes any necessary corrective action.

         96.     If Bayer discovers that an Authorized Online Seller is selling Bayer Products of

  poor quality or otherwise not adhering to Bayer’s quality control or customer service requirements,

  Bayer may conduct an investigation to determine the source of the problem. The Bayer Rules

  require that Authorized Online Sellers cooperate with Bayer’s investigation, permit Bayer to

  inspect their facilities and records relating to Bayer Products, and disclose all information about




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  where they obtained Bayer Products. Based on what its investigation reveals, Bayer has the right

  to cease selling its products to an Authorized Online Seller and to suspend or terminate its status

  as an Authorized Seller of Bayer Products.

                 Genuine Bayer Products Come with Bayer’s Satisfaction Guarantee;
                               Products Sold by Defendants Do Not

          97.      Bayer Products that are purchased from an Authorized Seller also come with

  Bayer’s 60-day satisfaction guarantee (the “Satisfaction Guarantee”).

          98.      Under the Bayer Satisfaction Guarantee, a customer is able to receive a full refund of

  the purchase price of a Bayer Product within 60 days of the original purchase date if the customer is

  dissatisfied with the product for any reason. The complete terms of the Bayer Satisfaction Guarantee

  can be viewed at https://www.livewell.bayer.com/satisfactionguarantee and are incorporated herein.

          99.      Bayer extends the Bayer Satisfaction Guarantee only to products that were sold by

  sellers who are subject to Bayer’s quality controls. Because products sold by unauthorized sellers

  are not subject to Bayer’s quality controls and Bayer cannot ensure the quality of such products, the

  Bayer Satisfaction Guarantee does not cover Bayer Products sold by unauthorized sellers, including

  Defendants. The Bayer Satisfaction Guarantee specifically states that “because we are unable to

  control the quality of our products sold by unauthorized sellers . . . the Bayer 60-Day Satisfaction

  Guarantee (‘Guarantee’) is not available for products purchased from unauthorized resellers.”

                   Defendants Are Not Authorized Sellers and Are Illegally Selling
                       Non-Genuine Products Bearing the Bayer Trademarks

          100.     Because the unauthorized sale of Bayer Products on the Internet threatens the

  reputation and goodwill associated with the Bayer Trademarks, Bayer actively monitors the sale of

  its products online.

          101.     In the course of this monitoring, Bayer discovered that high volumes of products

  bearing the Bayer Trademarks were being illegally sold through the Amazon Storefronts. Through


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  investigation, Bayer identified Defendants as the operators of the Amazon Storefronts and as the

  parties who are responsible for the unlawful sale of products bearing the Bayer Trademarks through

  the Amazon Storefronts.

             102.   Defendants are not Authorized Sellers of Bayer Products and are not subject to, and

  do not comply with, the Bayer Rules or the quality controls that Bayer imposes on its Authorized

  Sellers.

             103.   On June 12, 2024, counsel for Bayer sent a cease-and-desist letter to Defendants.

  The letter explained that Defendants are infringing the Bayer Trademarks and engaging in unfair

  competition by selling products that are materially different from genuine products sold by Bayer’s

  Authorized Sellers and that are not subject to, do not abide by, and interfere with Bayer’s quality

  controls. The letter also explained that Defendants are tortiously interfering with Bayer’s contracts

  by purchasing products from Authorized Sellers, who are prohibited from selling products to

  persons or entities who are not Authorized Sellers and who resell the products. Bayer’s letter

  demanded that Defendants permanently cease selling products bearing the Bayer Trademarks and

  disclose every person and entity that provided Defendants with the products they have sold.

             104.   Defendants did not respond to Bayer’s June 12, 2024 letter or cease selling products

  bearing the Bayer Trademarks. On June 25, 2024, Bayer sent a second cease-and-desist letter to

  Defendants that repeated the demands in its first letter. Defendants likewise did not respond to

  that letter or cease selling products bearing the Bayer Trademarks. On August 9, 2024, Bayer sent

  a draft complaint outlining its claims against Defendants. To date, Defendants have not responded

  to any of Bayer’s letters and have continued to sell a high volume of products bearing the Bayer

  Trademarks.




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          105.    Defendants’ disregard of Bayer’s letters and continued sales of non-genuine

  products despite being informed of their unlawful conduct demonstrates that they are acting

  intentionally, willfully, and maliciously.

      Defendants Are Infringing the Bayer-owned Trademarks and Engaging in Unfair
     Competition as to the Bayer-licensed Trademarks by Selling Products That Are Not
    Subject to, Do Not Abide by, and Interfere with Bayer’s Quality Control and Customer
                                    Service Requirements

          106.    Defendants, without authorization from Bayer, have sold—and continue to sell—

  products bearing the Bayer Trademarks through the Amazon Storefronts. Defendants may also be

  selling products through additional channels that Bayer has not yet discovered and cannot discover

  until it is able to take discovery.

          107.    Bayer has implemented quality control and customer service requirements

  throughout its authorized channels of distribution. Defendants are not Authorized Sellers of Bayer

  Products, and the products sold by Defendants are not genuine Bayer Products because they are not

  subject to, do not abide by, and interfere with Bayer’s quality control and customer service

  requirements that Authorized Sellers must follow.

          108.    Bayer’s quality control and customer service requirements are legitimate and

  substantial. As a result of Defendants’ sales of products that are not subject to, do not abide by, and

  interfere with these requirements, Bayer has lost control of the quality of its products.

          109.    Defendants do not abide by Bayer’s quality control requirements because they have

  not provided Bayer with their business information nor given Bayer an opportunity to vet them to

  determine if they meet Bayer’s high standards for what it demands of its Authorized Sellers that it

  approves to sell Bayer Products online through Approved Websites. Instead, Defendants sell

  products on online marketplaces in violation of the Bayer Rules and without Bayer’s authorization

  or oversight.



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          110.    Defendants do not comply with Bayer’s quality control requirements—and interfere

  with Bayer’s quality controls—because they have not disclosed to Bayer where they sell Bayer

  Products online. Defendants also do not provide customer feedback to Bayer that relates to their

  sales of products bearing the Bayer Trademarks or cooperate with Bayer in investigating negative

  online reviews relating to their sales of products bearing the Bayer Trademarks, as Authorized Online

  Sellers are required to do. These actions prevent Bayer from being able to detect, address, and

  resolve any quality control issues or negative reviews that arise out of Defendants’ sale of products

  bearing the Bayer Trademarks.

          111.    Defendants also do not comply with Bayer’s quality control requirements—and

  interfere with Bayer’s quality controls—because they: (1) have not disclosed to Bayer where they

  acquire Bayer Products; and (2) have not given Bayer the right to audit and inspect their facilities

  and records. As a result, among other things, Bayer cannot know if Defendants are: (i) sourcing

  products only from authorized sources; (ii) properly inspecting and storing products and delivery

  vehicles, and not selling poor-quality or expired products; (iii) selling products only in official and

  unaltered Bayer packaging; (iv) not selling any products that were returned, opened, or repackaged;

  (v) improperly allowing products that have been returned or repackaged to be listed as “new”

  products; (vi) preventing their products from being commingled with products owned by other

  sellers, such that a customer could receive a product owned by another seller when purchasing

  from Defendants; and (vii) providing exceptional customer service and responding appropriately

  to feedback received from customers. Bayer also cannot obtain Defendants’ assistance with any

  recall or consumer safety information efforts that may arise related to any products they are selling

  or have sold in the past.




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         112.    Numerous customers have written reviews of Defendants’ Amazon Storefront in

  which they complained of receiving products that were damaged, previously used, or close to

  expiration.   Customers have also complained of receiving medicine products that had been

  repackaged in plastic bags:




         113.    These reviews are only a sample of the negative reviews that customers have

  written about Defendants and their Amazon Storefronts. Bayer allows its products to be sold only

  by Authorized Sellers who are subject to its quality controls to prevent customers from suffering

  experiences like those described in the above complaints about Defendants.




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         114.    These reviews, along with the numerous negative reviews of Bayer Products

  Defendants have sold in which customers complained of similar issues, (see ¶¶ 51-54 supra), show

  that Defendants are very likely not carrying out the quality control inspection, storage, handling,

  or customer service requirements that Bayer requires Authorized Sellers to follow for Bayer

  Products. Instead, Defendants are providing poor customer service and likely selling products

  bearing the Bayer Trademarks that are damaged, tampered with, not sealed, previously used, old,

  and expired. These sales cause customers to write highly negative reviews of Bayer Products that

  harm Bayer’s reputation and hurt the placement of Bayer Products in search results.

         115.    Defendants’ failure to abide by the Bayer Rules prevents Bayer from exercising

  control over the quality of products Defendants sell bearing the Bayer Trademarks. Unlike with

  its Authorized Online Sellers, Bayer cannot monitor or audit Defendants to ensure they are

  complying with its quality controls or take any action to correct quality problems it discovers or is

  alerted to in products sold by Defendants.

         116.    Through their unauthorized use of the Bayer Trademarks, Defendants have

  misled—and continue to mislead—consumers into believing they are purchasing products with the

  same quality controls as genuine Bayer Products. In reality, however, the products sold by

  Defendants are materially different from genuine Bayer Products—and are not genuine products—

  because they are not subject to, do not abide by, and interfere with Bayer’s quality control and

  customer service requirements that Authorized Sellers must follow.

      Defendants Are Infringing the Bayer-owned Trademarks and Engaging in Unfair
   Competition as to the Bayer-licensed Trademarks by Selling Products That Do Not Come
                            with the Bayer Satisfaction Guarantee

         117.    As set forth above, genuine Bayer Products purchased from an Authorized Seller

  come with the Bayer Satisfaction Guarantee. However, Bayer does not provide the Bayer




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  Satisfaction Guarantee for products purchased from sellers that are not Authorized Sellers because

  it cannot ensure the quality of products sold by sellers that are not subject to its quality controls.

         118.    Because Defendants are not Authorized Sellers and are thus not subject to Bayer’s

  quality control requirements, the products bearing the Bayer Trademarks that Defendants sell do

  not come with the Bayer Satisfaction Guarantee.

         119.    Because the products Defendants sell do not come with the Bayer Satisfaction

  Guarantee, they are materially different from genuine Bayer Products.

         120.    The Bayer Satisfaction Guarantee is a material component of genuine Bayer

  Products. Consumers considering whether to purchase Bayer Products would find it relevant to

  their purchasing decision to know whether the product they are purchasing is covered by the Bayer

  Satisfaction Guarantee. Consumers who purchase Bayer Products with the Satisfaction Guarantee

  receive the peace of mind that they are receiving a high-quality product, that Bayer stands behind

  the product, and that they can get a refund if they are not completely satisfied.

         121.    Defendants’ unauthorized sale of non-genuine products bearing the Bayer

  Trademarks is likely to, and does, create customer confusion because customers who purchase

  products from Defendants believe they are purchasing genuine Bayer Products that come with the

  Bayer Satisfaction Guarantee when, in fact, they are not.

   Defendants are Engaging in False Advertising by Falsely Representing That the Products
                       They Sell Are New and In Original Packaging

         122.    In addition to infringing on the Bayer Trademarks and engaging in unfair

  competition, Defendants also falsely advertise that the products they sell are “New” and in the

  original packaging that genuine Bayer Products are packaged in.

         123.    Defendants’ Amazon product listings for Bayer Products state that the products are

  “New.” For example, Defendants are listing the following product bearing the Bayer-owned



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  MIRALAX trademark as “New.”           The listing shows images of the product in its original

  packaging:




         124.    Pursuant to Amazon’s policies, a product can be listed as “New” only if it is a

  “brand-new item” with any applicable warranties and, except in limited circumstances, in its

  original packaging.




  See https://sellercentral.amazon.com/gp/help/external/200339950.

         125.    Amazon’s policies also require that all third-party sellers accurately describe the

  products they advertise and sell, including images, so that consumers can evaluate and learn about

  the product before purchase. Amazon specifically requires that images accurately represent the

  product that is being sold.

         126.    The box depicted on the listing is part of the original packaging for this product.

  The box contains several individual packs inside as well as stir sticks to mix the medication into a


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  liquid. Upon information and belief, Defendants have sold this product repackaged in plastic bags

  that do not contain the stir sticks.

          127.    Several consumers have left reviews on the Defendants’ Amazon Storefronts that

  either specifically reference products bearing the MIRALAX trademark or that clearly imply their

  reference to the product. Several customers have complained of receiving products in plastic bags

  and not in the manufacturer’s original packaging:2




  2
    When Amazon sellers utilize the “Fulfillment by Amazon” service, Amazon itself is
  responsible for shipping the items. At a third-party seller’s request, Amazon is able to “strike” a
  negative review as attributable to Amazon, not the seller—even in situations where, as here, the
  issue is plainly related to the quality of the seller’s product. See
  https://sell.amazon.com/fulfillment-by-amazon.


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          128.    These reviews are also similar to the reviews previously cited (see ¶ 112 supra)

  where consumers also complained of receiving products that in addition to being repackaged, were

  close to their expiration date.

          129.    By using images of Bayer Products in their original packaging, Defendants

  misrepresent to Amazon consumers that the products Defendants sell come in their original

  packaging.

          130.    Consumers who purchase Bayer Products from these listings and received products

  not in the original Bayer packaging are surprised, disappointed, confused, and not sure if the

  products, which are meant to be ingested, are safe for consumption. As a result, these consumers

  have posted negative reviews of Bayer Products that harm Bayer’s brand and reputation.

          131.    As set forth above, the products Defendants sell do not come with the Bayer

  Satisfaction Guarantee and are not sold in their original packaging. Thus, by representing to

  consumers that the products they sell are “New,” Defendants are falsely advertising the products

  they are selling.

                            Defendants Are Tortiously Interfering with
                           Bayer’s Agreements with its Authorized Sellers

          132.    As discussed, Bayer allows Bayer Products to be sold only by Authorized Sellers.

          133.    Bayer has entered into agreements with all of its Authorized Sellers that prohibit

  Authorized Sellers from selling Bayer Products to entities or persons who are not Authorized

  Sellers and who Authorized Sellers know, or reasonably should know, are going to resell the

  products.




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         134.    Defendants have sold and are continuing to sell a high volume of products bearing

  the Bayer Trademarks on the Internet. The only plausible way Defendants could be obtaining the

  volume of products they are reselling is by purchasing them from one or more Authorized Sellers.

  Thus, upon information and belief, Defendants have purchased products from Authorized Sellers

  for the purpose of reselling them on the Internet.

         135.    By purchasing products from Authorized Sellers and then reselling them on the

  Internet, Defendants caused and induced Authorized Sellers to breach their agreements with Bayer.

         136.    Defendants have known that Bayer’s contracts with its Authorized Sellers prohibit

  Authorized Sellers from selling products to non-Authorized Sellers, such as Defendants, who the

  Authorized Sellers know or have reason to know are going to resell the products.

         137.    Defendants have known of this prohibition since approximately June 12, 2024. On

  or around that date, Defendants received a cease-and-desist letter informing them that Bayer has

  agreements with all of its Authorized Sellers that prohibit them from selling Bayer Products to any

  person or entity that, like Defendants, is not an Authorized Seller but intends to resell the products.

  Bayer’s letter also informed Defendants that: (i) by purchasing Bayer Products from an Authorized

  Seller for the purpose of reselling them, they were causing a breach of the agreement between

  Bayer and its Authorized Seller and were interfering with Bayer’s agreements and business

  relationships; and (ii) if Defendants continued to acquire products from Bayer’s Authorized Sellers

  for the purpose of reselling them, they would be liable for tortiously interfering with Bayer’s

  contracts and business relationships with its Authorized Sellers.

         138.    Despite being provided this information, upon information and belief, Defendants

  intentionally, knowingly, and willfully interfered with Bayer’s agreements with its Authorized




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  Sellers by inducing Authorized Sellers to breach their agreements and sell products to Defendants

  that Defendants resold on the Internet.

            139.   In interfering with Bayer’s agreements, Defendants acted without justification and

  with a wrongful purpose. Defendants purchased Bayer Products from Authorized Sellers—and in

  so doing, instigated a breach of Authorized Sellers’ agreements with Bayer—so that Defendants

  could unlawfully infringe upon and materially damage the value of the Bayer Trademarks by

  reselling the products on the Internet, thereby committing an independent tort.

            140.   Defendants are not parties to the agreements they caused Authorized Sellers to

  breach.

              Bayer Has Suffered Significant Harm as a Result of Defendants’ Conduct

            141.   As set forth above, the unauthorized sale of products bearing the Bayer Trademarks

  by unauthorized sellers such as Defendants has caused significant harm to Bayer and its brands.

            142.   When a consumer receives a non-genuine, damaged, or poor-quality product from an

  unauthorized seller, such as Defendants, the consumer associates that negative experience with

  Bayer. As such, Defendants’ ongoing sale of non-genuine products bearing the Bayer Trademarks

  harms Bayer and its brands.

            143.   Bayer has suffered, and will continue to suffer, significant monetary harm as a result

  of Defendants’ actions including, but not limited to, loss of sales, damage to its intellectual property,

  and damage to its existing and potential business relations.

            144.   Bayer has also suffered, and will continue to suffer, irreparable harm to its reputation,

  goodwill, business and customer relationships, intellectual property rights, and brand integrity.

            145.   Bayer is entitled to injunctive relief because, unless enjoined by this Court,

  Defendants will continue to unlawfully sell non-genuine products bearing the Bayer Trademarks,




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  causing continued irreparable harm to Bayer’s reputation, goodwill, relationships, intellectual

  property, and brand integrity.

            146.   Additionally, Bayer is entitled to injunctive relief requiring Defendants to return or

  destroy infringing products because without that remedy, Defendants may evade injunctive relief by

  transferring their infringing products to another reseller.

            147.   Defendants’ conduct was and is knowing, reckless, intentional, willful, malicious,

  wanton, and contrary to law.

            148.   Defendants’ willful infringement of the Bayer Trademarks and continued pattern of

  misconduct demonstrate intent to harm Bayer.

                                  FIRST CAUSE OF ACTION
                      Trademark Infringement – 15 U.S.C. §§ 1114, 1125(a)(1)3

            149.   Bayer hereby incorporates the allegations contained in the foregoing paragraphs as if

  fully set forth herein.

            150.   The Bayer-owned Trademarks have been registered with the United States Patent and

  Trademark Office.

            151.   Bayer is the owner of the Bayer-owned Trademarks.

            152.   The Bayer-owned Trademarks are valid and subsisting trademarks in full force and

  effect.

            153.   Defendants willfully and knowingly used, and continue to use, the Bayer-owned

  Trademarks in interstate commerce for the purpose of selling non-genuine products bearing the

  Bayer-owned Trademarks without Bayer’s consent.




  3
    Bayer only brings its first and fourth causes of action as to the marks that it owns, the Bayer-
  owned trademarks. These claims do not relate to the Bayer-licensed Trademarks. The Bayer-
  licensed Trademarks are addressed in Bayer’s second cause of action for unfair competition.


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          154.    The products bearing the Bayer-owned Trademarks that Defendants sell are not

  authorized for sale by Bayer.

          155.    Defendants’ use of the Bayer-owned Trademarks in connection with their

  unauthorized sale of products is likely to cause confusion, cause mistake, or deceive consumers

  because it falsely suggests that the products offered for sale by Defendants are the same as genuine

  products legitimately bearing the Bayer-owned Trademarks and originate from, or are sponsored by,

  authorized by, or otherwise connected with Bayer when they are not.

          156.    Defendants’ use of the Bayer-owned Trademarks in connection with their

  unauthorized sale of products is likely to cause confusion, cause mistake, or deceive because it

  suggests that the products Defendants offer for sale are genuine Bayer Products.

          157.    The products sold by Defendants are not, in fact, genuine Bayer Products. The

  products sold by Defendants are materially different from genuine Bayer Products because, among

  other reasons, they are ineligible for the Bayer Satisfaction Guarantee and are not subject to, do not

  abide by, and interfere with Bayer’s quality control requirements.

          158.    Defendants’ unauthorized use of the Bayer-owned Trademarks has infringed upon

  and materially damaged the value of the Bayer-owned Trademarks, and caused significant damage

  to Bayer’s business relationships.

          159.    As a proximate result of Defendants’ actions, Bayer has suffered, and will continue

  to suffer, immediate and irreparable harm. Bayer has also suffered, and continues to suffer, damage

  to its business, goodwill, reputation, and profits in an amount to be proven at trial.

          160.    Bayer is entitled to recover its damages caused by Defendants’ infringement of the

  Bayer-owned Trademarks and disgorge Defendants’ profits from their willfully infringing sales and

  unjust enrichment.




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          161.    Bayer is entitled to injunctive relief under 15 U.S.C. § 1116 because it has no

  adequate remedy at law for Defendants’ infringement and, unless Defendants are permanently

  enjoined, Bayer will suffer irreparable harm.

          162.    Bayer is entitled to enhanced damages and attorneys’ fees under 15 U.S.C. § 1117(a)

  because Defendants willfully, intentionally, maliciously, and in bad faith infringed on the Bayer

  Trademarks.

                                   SECOND CAUSE OF ACTION
                            Unfair Competition – 15 U.S.C. § 1125(a)(1)(A)

          163.    Bayer hereby incorporates the allegations contained in the foregoing paragraphs as if

  fully set forth herein.

          164.    As set forth above, Defendants are selling non-genuine products bearing the Bayer-

  licensed Trademarks that are materially different from genuine Bayer Products.

          165.    Defendants’ sale of non-genuine products bearing the Bayer-licensed Trademarks is

  likely to cause consumer confusion and lead consumers to believe that those products are affiliated

  with, connected with, associated with, sponsored by, or approved by Bayer when they are not.

          166.    Defendants’ sale of non-genuine products bearing the Bayer-licensed Trademarks is

  likely to cause consumer confusion and lead consumers to believe that the products are genuine

  Bayer Products when they are not.

          167.    Defendants’ conduct constitutes unfair competition under the Lanham Act, 15 U.S.C.

  § 1125(a)(1)(A).

          168.    As the exclusive licensee to the Bayer-licensed Trademarks, Bayer has standing to

  bring a claim for unfair competition under 15 U.S.C. § 1125(a)(1)(A). See Hotaling & Co. v. Ly

  Berditchev Corp., Civil Action No. 20-cv-16366, 2021 U.S. Dist. LEXIS 161669, at *8-11 (D.N.J.

  Aug. 26, 2021).



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            169.   Bayer is entitled to injunctive relief under 15 U.S.C. § 1116 because it has no

  adequate remedy at law for Defendants’ unfair competition and, unless Defendants are permanently

  enjoined, Bayer will suffer irreparable harm.

            170.   Bayer is entitled to enhanced damages and attorneys’ fees under 15 U.S.C. § 1117(a)

  because Defendants willfully, intentionally, maliciously, and in bad faith engaged in unfair

  competition.

                                    THIRD CAUSE OF ACTION
                             False Advertising – 15 U.S.C. § 1125(a)(1)(B)

            171.   As set forth above, Defendants are selling non-genuine products bearing the Bayer

  Trademarks that are materially different from genuine Bayer Products.

            172.   Bayer is the owner of the Bayer-owned Trademarks and the exclusive U.S. licensee

  of the Bayer-licensed Trademarks.

            173.   The Bayer Trademarks are registered with the United States Patent and Trademark

  Office.

            174.   The Bayer Trademarks are valid, subsisting, and in full force and effect.

            175.   Through their Amazon Storefronts, Defendants have willfully and knowingly used,

  and continue to use, the Bayer Trademarks in interstate commerce for purposes of advertising,

  promoting, and selling Bayer Products without Bayer’s consent.

            176.   Defendants’ advertisements and promotions of their products unlawfully using the

  Bayer Trademarks have been disseminated to the relevant purchasing public.

            177.   Defendants advertise, promote, and sell products bearing the Bayer Trademarks

  through product listing pages on Amazon that show images of Bayer Products unopened and in their

  original packaging.




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         178.      Defendants advertise, promote, and sell products bearing the Bayer Trademarks and

  advertise the products as “New,” which by definition means in original packaging.

         179.      Defendants actually sell products bearing the Bayer Trademarks that are not in the

  original packaging, but instead are purchased by Defendants in large bulk packs, opened, removed

  from the manufacturer packaging, separated into smaller units, repackaged into plastic bags, and

  shipped .

         180.      Defendants have used, and continue to use, the Bayer Trademarks to falsely advertise

  the products they sell, including, but not limited to, falsely advertising that the products they sell

  come are new and in Bayer’s original packaging, as shown in the images of the Bayer Products

  advertised on each product’s product listing page on Amazon.

         181.      Bayer Products purchased from Bayer’s Authorized Sellers who comply with

  Bayer’s quality controls are unopened and packaged in Bayer’s original packaging. This is important

  to the consumer, because the manufacturer’s packaging contains important consumer safety and

  dosage information.

         182.      Bayer cannot exercise its quality controls over products sold by unauthorized sellers,

  such as Defendants. As such, products bearing the Bayer Trademarks that are sold by unauthorized

  sellers who do not comply with Bayer’s quality controls are materially different from genuine Bayer

  Products.

         183.      The products Defendants sell bearing the Bayer Trademarks are not authorized for

  sale by Bayer.

         184.      Defendants falsely advertise that the products they sell bearing the Bayer Trademarks

  are new, unopened, and packaged in the original Bayer packaging.




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         185.    This representation is false because the products Defendants sell bearing the Bayer

  Trademarks are opened and repackaged in plastic bags.

         186.    Consumers who purchase products bearing the Bayer Trademarks from Defendants

  and receive opened products repackaged in plastic bags are dissatisfied, confused, and because these

  products are meant for consumption, cannot trust the safety of these products.              Consumers

  mistakenly believe that the products they purchased are sponsored, authorized, or otherwise

  connected with Bayer.

         187.    Defendants’ use of the Bayer Trademarks in connection with the unauthorized

  advertising, promotion, and sale of products bearing the Bayer Trademarks misrepresents the nature,

  characteristics, qualities, and origin of Defendants’ products because it suggests that the products are

  genuine Bayer Products when, in fact, they are not.

         188.    Defendants’ use of the Bayer Trademarks in connection with the unauthorized

  advertising, promotion, and sale of products bearing the Bayer Trademarks is likely to cause

  confusion, cause mistake, or deceive because it suggests that the products Defendants offer for sale

  are genuine and authentic Bayer Products when, in fact, they are not.

         189.    Defendants’ use of the Bayer Trademarks in connection with the unauthorized

  advertising, promotion, and sale of products bearing the Bayer Trademarks is likely to cause

  confusion, cause mistake, or deceive because it suggests that the products Defendants offer for sale

  are sponsored, authorized, or otherwise connected with Bayer when, in fact, they are not.

         190.    Defendants’ unauthorized use of the Bayer Trademarks in advertising, and otherwise,

  infringes on the Bayer Trademarks.

         191.    As a proximate result of Defendants’ actions, Bayer has suffered, and will continue

  to suffer, damage to its business, goodwill, reputation, and profits in an amount to be proven at trial.




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            192.   Bayer is entitled to recover its damages caused by Defendants’ infringement of the

  Bayer Trademarks and disgorge Defendants’ profits from their willfully infringing sales and unjust

  enrichment.

            193.   Bayer is entitled to enhanced damages and attorneys’ fees under 15 U.S.C. § 1117(a)

  because Defendants willfully, intentionally, maliciously, and in bad faith infringed on the Bayer

  Trademarks.

                               FOURTH CAUSE OF ACTION
                   Common Law Trademark Infringement and Unfair Competition

            194.   Bayer hereby incorporates the allegations contained in the foregoing paragraphs as if

  fully set forth herein.

            195.   The Bayer-owned Trademarks have been registered with the United States Patent and

  Trademark Office.

            196.   Bayer is the owner of the Bayer-owned Trademarks.

            197.   The Bayer-owned Trademarks are valid and subsisting trademarks in full force and

  effect.

            198.   The Bayer-owned Trademarks are distinctive and widely recognized by the

  consuming public. Bayer Products are purchased and sold by Bayer’s Authorized Sellers throughout

  the United States, including in New Jersey.

            199.   Bayer is widely recognized as the designated source of goods bearing the Bayer-

  owned Trademarks.

            200.   Defendants willfully and knowingly used, and continue to use, the Bayer-owned

  Trademarks in interstate commerce for the purpose of selling products bearing the Bayer-owned

  Trademarks without Bayer’s consent.




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         201.    The products bearing the Bayer-owned Trademarks that Defendants sell are not

  authorized for sale by Bayer.

         202.    Defendants’ use of the Bayer-owned Trademarks in connection with their

  unauthorized sale of products is likely to cause confusion, cause mistake, or deceive consumers

  because it falsely suggests that the products offered for sale by Defendants are the same as genuine

  products legitimately bearing the Bayer-owned Trademarks and originate from, or are sponsored by,

  authorized by, or otherwise connected with Bayer when they are not.

         203.    Defendants’ use of the Bayer-owned Trademarks in connection with their

  unauthorized sale of products is likely to cause confusion, cause mistake, or deceive because it

  suggests that the products Defendants offer for sale are genuine Bayer Products.

         204.    The products sold by Defendants are not, in fact, genuine Bayer Products. The

  products sold by Defendants are materially different from genuine Bayer Products because, among

  other reasons, they are ineligible for the Bayer Satisfaction Guarantee and are not subject to, do not

  abide by, and interfere with Bayer’s quality control requirements.

         205.    Defendants’ unauthorized use of the Bayer-owned Trademarks has infringed upon

  and materially damaged the value of the Bayer-owned Trademarks, and caused significant damage

  to Bayer’s business relationships.

         206.    As a proximate result of Defendants’ actions, Bayer has suffered, and will continue

  to suffer, irreparable harm, as well as damage to its business, goodwill, reputation, and profits in an

  amount to be proven at trial.

         207.    Bayer is entitled to recover its damages caused by Defendants’ trademark

  infringement and unfair competition and disgorge Defendants’ profits from their willfully infringing

  sales and unjust enrichment.




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          208.    Bayer is entitled to recover punitive damages because Defendants have acted with

  fraud, malice, and willful and wanton conduct.

                                   FIFTH CAUSE OF ACTION
                                Tortious Interference with Contracts

          209.    Bayer hereby incorporates the allegations contained in the foregoing paragraphs as if

  fully set forth herein.

          210.    Bayer Products are sold to the public exclusively through Bayer’s network of

  Authorized Sellers.

          211.    Bayer has entered into valid and enforceable agreements with its Authorized Sellers

  to sell Bayer Products. These agreements specifically prohibit Authorized Sellers from selling Bayer

  Products to unauthorized resellers such as Defendants.

          212.    Defendants are not Authorized Sellers of Bayer Products. Despite this, Defendants

  have sold and are continuing to advertise and sell a high volume of products bearing the Bayer

  Trademarks on the Internet. The only plausible way Defendants could be obtaining the volume of

  products they are reselling is by purchasing them from one or more Authorized Sellers.

          213.    Thus, upon information and belief, Defendants have purchased Bayer Products from

  Authorized Sellers for the purpose of reselling them on the Internet.

          214.    By purchasing products from Authorized Sellers and then reselling them on the

  Internet, Defendants caused and induced Authorized Sellers to breach their agreements with Bayer.

          215.    Defendants have known that Bayer’s contracts with its Authorized Sellers prohibit

  Authorized Sellers from selling products to non-Authorized Sellers, such as Defendants, who the

  Authorized Sellers know or have reason to know are going to resell the products.




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          216.       Defendants have known of this prohibition, among other reasons, because Bayer

  informed Defendants of this prohibition in a cease-and-desist letter it mailed to Defendants on

  June 12, 2024.

          217.       Despite having knowledge of this prohibition, Defendants intentionally, knowingly,

  and willfully interfered with Bayer’s agreements with its Authorized Sellers by continuing to induce

  Authorized Sellers to breach their agreements and sell products to Defendants that Defendants resold

  on the Internet.

          218.       In interfering with Bayer’s agreements, Defendants acted without justification and

  with a wrongful purpose. Defendants purchased Bayer Products from Authorized Sellers—and in

  so doing, instigated a breach of Authorized Sellers’ agreements with Bayer—so that Defendants

  could unlawfully and materially damage the value of the Bayer Trademarks by reselling the products

  on the Internet, thereby committing an independent tort.

          219.       Bayer’s agreements with its Authorized Sellers are a specific class of contract that

  Defendants are causing Authorized Sellers to breach when they purchase products from Authorized

  Sellers for resale. Although Bayer does not yet know which specific Authorized Seller(s) have

  breached their agreements with Bayer—and indeed cannot learn that information with certainty until

  it is able to take discovery from Defendants in this action—Defendants know from whom they

  obtained the products they have resold and are on notice of the basis for Bayer’s claim of tortious

  interference.

          220.       Defendants are not parties to the contracts they caused Authorized Sellers to breach.

          221.       Defendants’ actions have caused injury to Bayer for which Bayer is entitled to

  compensatory damages in an amount to be proven at trial.




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         222.    The injury to Bayer is immediate and irreparable, as Bayer’s reputation and

  relationships have been damaged among its consumers and Authorized Sellers.

         223.    Bayer is also entitled to recover punitive damages because Defendants have acted

  with fraud, malice, and willful and wanton conduct.

                                      PRAYER FOR RELIEF

         WHEREFORE, Bayer prays for relief and judgment as follows:

         A.      Judgment in favor of Bayer and against Defendants in an amount to be determined

  at trial including, but not limited to, compensatory damages, statutory damages, treble damages,

  restitution, disgorgement of profits, punitive damages, exemplary damages, and pre-judgment and

  post-judgment interest, as permitted by law;

         B.      An accounting of Defendants’ profits from their sales of infringing products bearing

  the Bayer Trademarks;

         C.      A permanent injunction enjoining Defendants and any employees, agents, servants,

  officers, representatives, directors, attorneys, successors, affiliates, assigns, any and all other

  entities owned or controlled by Defendants, and all of those in active concert and participation

  with Defendants (the “Enjoined Parties”) as follows:

                 i)     Prohibiting the Enjoined Parties from advertising or selling, via the Internet

                        or otherwise, all Bayer Products;

                 ii)    Prohibiting the Enjoined Parties from using any of the Bayer Trademarks in

                        any manner, including advertising on the Internet;

                 iii)   Prohibiting the Enjoined Parties from importing, exporting, manufacturing,

                        producing, distributing, circulating, selling, offering to sell, advertising,




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                     promoting, or displaying any and all Bayer Products as well as any products

                     bearing any of the Bayer Trademarks;

             iv)     Prohibiting the Enjoined Parties from disposing of, destroying, altering,

                     moving, removing, concealing, or tampering with any records related to any

                     products sold by them which contain the Bayer Trademarks including:

                     invoices, correspondence with vendors and distributors, bank records,

                     account books, financial statements, purchase contracts, sales receipts, and

                     any other records that would reflect the source of the products that

                     Defendants have sold bearing these trademarks;

             v)      Requiring the Enjoined Parties to take all action to remove from the

                     Enjoined Parties’ websites any reference to any Bayer Products or any of

                     the Bayer Trademarks;

             vi)     Requiring the Enjoined Parties to take all action, including but not limited

                     to, requesting Internet search engines (such as Google, Yahoo!, and Bing)

                     to remove from the Internet any of the Bayer Trademarks which associate

                     Bayer Products or the Bayer Trademarks with the Enjoined Parties or the

                     Enjoined Parties’ websites;

             vii)    Requiring the Enjoined Parties to take all action to remove the Bayer

                     Trademarks     from     the   Internet,   including   from    the   website

                     www.amazon.com; and

             viii)   Requiring Defendants to destroy or return to Bayer all products bearing the

                     Bayer Trademarks in their possession, custody, or control;




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          D.      An order requiring Amazon.com, Inc. to freeze all funds in any accounts owned or

  controlled by Defendants;

          E.      An award of attorneys’ fees, costs, and expenses; and

          F.      Such other and further relief as the Court deems just, equitable and proper.

                                           JURY DEMAND

          Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Bayer demands a trial by jury

  on all issues so triable.

  Date: November 13, 2024

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                       CERTIFICATION PURSUANT TO L. CIV. R. 11.2

         Pursuant to Local Civil Rule 11.2, I hereby certify that the matter in controversy in the

  above-captioned action is not the subject of any other action pending in any court, or of any

  pending arbitration or administrative proceeding.


                                          /s/ Michael J. Gesualdo
                                              Michael J. Gesualdo




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